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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
ELECTRONIC PRIVACY INFORMATION )
CENTER,                                 )
                                        )
                  Plaintiff,            )
                                        )
      v.                               )     Civil Action No. 19-810 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE,                               )
                                       )
                  Defendant.           )
_______________________________________)
                                       )
JASON LEOPOLD &                        )
BUZZFEED, INC.,                        )
                                       )
                  Plaintiffs,          )
                                       )
      v.                               )     Civil Action No. 19-957 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE, et al.,                        )
                                        )
                  Defendants.          )
_______________________________________)

                                            ORDER

       On March 30, 2020, the United States Department of Justice (the “Department”)

submitted the unredacted version of the report prepared by Special Counsel Robert S. Mueller III

regarding his investigation into Russian interference in the 2016 United States presidential

election (the “Mueller Report” or the “Report”) to the Court for its in camera review. After

reviewing the unredacted version of the Report, on June 8, 2020, the Court ordered the

Department to “appear before the Court for an ex parte hearing [on July 20, 2020,] to address the

Court’s questions regarding certain redactions of the Mueller Report.” Order at 2 (June 8, 2020),
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ECF No. 120. To accord the Department knowledge of the questions that the Court has

regarding some of the redactions prior to the ex parte hearing, the Court has prepared an Excel

spreadsheet that catalogues these questions, which is attached as Exhibit A to this Order. 1 To the

extent that the Department is able to respond to the Court’s questions in writing, it is hereby

           ORDERED that, on or before July 14, 2020, at 5:00 p.m., the Department shall file 2

under seal its responses to the Court’s questions by completing Column G of Exhibit A.3

           SO ORDERED this 6th day of July, 2020.


                                                                          REGGIE B. WALTON
                                                                          United States District Judge




1
    Exhibit A will be issued under seal and will remain under seal unless otherwise ordered by this Court.
2
    The Department shall coordinate with chambers regarding the delivery of a hard copy of its submission.
3
 The Court will advise the Department as to whether the Department’s written explanations obviate the need for the
ex parte hearing currently scheduled for July 20, 2020.

                                                            2
